     Case 8:20-cv-01742-JVS-JDE Document 31 Filed 10/22/21 Page 1 of 1 Page ID #:130



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 7                         UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
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11    The Regents of the University of  )             SACV 20-01742-JVS(JDEx)
      California, et al,                )
12                                      )             ORDER OF DISMISSAL UPON
                                        )
13                Plaintiff,            )             SETTLEMENT OF CASE
                                        )
14           v.                         )
                                        )
15    Humana Health Plan of California, )
      Inc, et al,                       )
16                                      )
                  Defendant(s).         )
17    ______________________________ )
18
19          The Court having been advised by the counsel for the parties that the above-
20    entitled action has been settled,
21          IT IS ORDERED that this action be and is hereby dismissed in its entirety
22    without prejudice to the right, upon good cause being shown within 75 days, to reopen
23    the action if settlement is not consummated.
24
25    DATED: October 22, 2021                             __________________________
                                                          James V. Selna
26                                                        U.S. District Judge
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